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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

GLENVERT GREEN,                              :
                                             :
             Plaintiff                       :    CIVIL ACTION NO. 3:16-CV-2046
                                             :
   v.                                        :     (Judge Caputo)
                                             :
USP CANNAN, et al.,                          :
                                             :
             Defendants                      :



                                        ORDER

        AND NOW, this 4th day of APRIL, 2018, upon consideration of the

Defendants’ Motion for Summary Judgment (ECF No. 30), and for the reasons set

forth in the accompanying Memorandum, it is hereby ORDERED that:

        1.       Defendants’ Motion (ECF No. 30) for Summary Judgment
                 is GRANTED.

        2.       Judgment is entered in favor of Defendants: Rhea
                 Carey, Kenneth Kaiser, Michelle Syzmanski, Blake
                 Glucksnis and Shawn Taylor; and against Glenvert
                 Green.

        3.       The Clerk of Court shall CLOSE this file.

        4.       Any appeal from this Order is DEEMED frivolous and not
                 in good faith. See 28 U.S.C. § 1915(a)(3).


                                                  /s/ A. Richard Caputo
                                                  A. RICHARD CAPUTO
                                                  United States District Judge
